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RODOLFO TECOCOATZI-ORTIZ et al.,
18cv7342 (JGK)
Plaintiffs,
MEMDRANDUM OPINION
“ against - AND ORDER

 

JUST SALAD LLC et al.,

Defendants.

 

JOHN G. KOELTL, District Judge:

The plaintiffs in this case are fifteen current and former
employees of the defendants who worked as delivery persons.1 The
defendants are Just Salad LLC, a holding company; twenty-four
Just Salad franchises; and Nicholas Kenner, Just Salad’S
cofounder and chief executive officer.

The plaintiffs allege claims under the Fair Labor Standards
Act (“FLSA”) for unlawful tip retention, unlawful kickbacks,
nonpayment of minimum wages, and nonpayment of overtime wages.
Additionally, the plaintiffs allege claims under the New York
Labor Law (“NYLL”) for nonpayment of spread-of-hours pay,
failure to retain records, failure to provide time-of-hire wage

notices, failure to provide wage statements with each wage

 

l The plaintiffs are: Rodolfo Tecocoatzi-Ortiz, Diego De La Cruz Rosas,
Neftali D. Baten, Adelaido Galeana, Jose Pereda Abarca, Camilo Ramos Flores,
Omar Raul Zapotitlan Sanchez, Rodolfo Zempoalteca Montes, Enrique Dositeo
Encalada Abad, Luis Jofree Lema Mayancela, Anthony Peter Rosario, Reymundo
Molina Medel, and Bernaldo Tlaozani Carranza.

 

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payment, failure to pay for uniform maintenance, and failure to
reimburse the plaintiffs for tools of the trade.

The defendants have moved to dismiss portions of the
plaintiffs' complaint pursuant to Federal Rule of Civil
Procedure 12(b)(6) for failure to state a claim upon which
relief can be granted.

I.

In deciding a motion to dismiss pursuant to Rule lZ(b)(G),
the allegations in the complaint are accepted as true, and all
reasonable inferences must be drawn in the plaintiffs’ favor.

McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 191 (2d Cir.

 

2007). The Court's function on a motion to dismiss is “not to
weigh the evidence that might be presented at a trial but merely
to determine whether the complaint itself is legally

sufficient.” Goldman v. Belden, 754 F.2d 1059, 1067 (2d Cir.

 

1985). The Court should not dismiss the complaint if the
plaintiffs have stated “enough facts to state a claim to relief
that is plausible on its face.” Twombly, 550 U.S. at 570. “A
claim has facial plausibility when the plaintiff pleads factual
content that allows the court to draw the reasonable inference
that the defendant is liable for the misconduct alleged.”

Ashcroft v. lqbal, 556 U.S. 662, 678 (2009).

 

While the Court should construe the factual allegations in

the light most favorable to the plaintiff, “the tenet that a

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court must accept as true all of the allegations contained in
the complaint is inapplicable to legal conclusions.” ld; When
presented with a motion to dismiss pursuant to Rule 12(b)(6),
the Court may consider documents that are referenced in the
complaint, documents that the plaintiffs relied on in bringing
suit and that are either in the plaintiffs’ possession or that

the plaintiffs knew of when bringing suit, or matters of which

judicial notice may be taken. See Chambers v. Time Warner,

 

Inc., 282 F.3d 147, 153 (2d Cir. 2002).
II.
The plaintiffs in this action are thirteen current or

former employees of various Just Salad franchises.2 {Compl.

 

2 Plaintiff Rodolfo Tecocoatzi~Ortiz was employed from on or about May
20, 2011, to November 20, 2016, at Just Salad 706 6th Ave LLC. (Compl.

IK 92, 120.) Plaintiff Diego De La Cruz Rosas was employed from on or about
March 1, 2009r to September 8, 2017, at Just Salad 30 Rock LLC and Just Salad
600 Third LLC. (ld; II 134, 139-40.) Plaintiff Neftali Baten was employed
from on or about January 18, 2016, to November 15, 2016, at Just Salad 600
Third LLC. {ld; LT 174, l76.} Plaintiff Adelaido Galeana was employed from
on or about February 1, 2015, to the present at Just Salad 320 Park Ave LLC.
(ld;rTT 196, 199.) Plaintiff Jose Pereda Abarca was employed from on or
about April 27, 2011, to September 15, 2017, at Just Salad 320 Park Ave LLC.
(ld; TI 229, 232.) Plaintiff Camilo Ramos Flores was employed from on or
about August 1, 2016, to the present at Just Salad lst Avenue LLC and Just
Salad 320 Park Ave LLC. [ld; II 253, 256-57.) Plaintiff Omar Raul
Zapotitlan Sanchez was employed from on or about March 2, 2015, to May 14,
2015, and again from March 7, 2016, to July 27, 2016, at Just Salad 600 Third

LLC. (Id. IT 281, 284.) Plaintiff Rodolfo Zempoalteca was employed from on
or about March 2, 2015, to April 31, 2017, at Just Salad 663 Lex LLC, Just
Saiad 1471 3rd Ave LLC, and Just Salad lst Avenue LLC. (Id. II 300, 304.)

Plaintiff Enrique Dositeo Encalada Abad was employed from on or about March
1, 2009, to February 23, 2018, at Just Salad 30 Rock LLC and Just Salad 134

37th St. LLC. (ld. IL 317, 320-21.) flaintiff Luis Jofree Lema Mayancela
was employed from on or about March 21, 2016, to October 16, 2016, at Just
Salad 1471 3rd Ave LLC. (Id. TI 350, 352.) Plaintiff Anthony Peter Rosario

was employed from on or about August 6, 2012, to May 28, 2014, at Just Salad
600 Third LLC, (id. TI 365, 367), but would also infrequently deliver orders

 

 

 

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11 11-23.) Each of the plaintiffs worked as a delivery driver
and primarily delivered food orders. (1§; 11 92, 134, 174, 196,
229, 253, 281, 300, 3171r 350, 365, 382, 422.) However, the
plaintiffs allege that they also “could be and were assigned to
work at or deliver supplies between . . . Just Salad locations
in and around New York City,” {Pls.' Opp’n at 1), and that the
plaintiffs would perform other tasks at the restaurants, such as
cleaning, packing delivery orders, taking out the trash, mopping
the floor, and restocking, (Compl. 11 122, 148-50, 180, 235,
288, 305, 326, 353, 369, 400, 429).

The plaintiffs each assert a variety of FLSA and NYLL
claims. They assert violations for: nonpayment of the
applicable minimum wage, (id; 11 467-75); nonpayment of overtime
wages, (id; 11 476-88); nonpayment of spread~of-hours pay, (id;
11 489~91); failure to keep required records, (id; 11 492-500};
failure to provide wage notices at the time of hire, (id;

11 501-05); failure to provide wage statements with each wage

 

from Just Salad 706 6th Ave LLC and Just Salad 663 Lex LLC, (rj;hd".w 1 370).
Plaintiff Reymundo Molina Medel was employed from on or about February 1,
2009, to October 31, 2012, at Just Salad Murray Hill located at 600 Third
Avenue, New York, NY 10016, (id. 11 382, 399), but also picked up deliveries
at Just Salad 233 Broadway LLC, Just Salad 100 Maiden Lane, New York, NY
10038, Just Salad 30 Rock LLC, and Just Salad 320 Park Ave LLC, located at
320 Park Avenue, New York, NY 10022, (id_.M 11 401-02). Plaintiff Bernaldo
Tlaczani Carranza was employed from on or about September 23, 2010, to
December 31, 2011, at Just Salad 600 Third LLC. (1§; 11 422, 427.)

 

Plaintiffs Mayancela, Rosario, Medel, and Carranza purport to bring
claims only under the NYLL. (Pls.’ Opp'n at 1.) The other plaintiffs bring
their claims under the NYLL and FLSA. (ld.)

 

 

 

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payment, (id; 11 506"09); and failure to reimburse the
plaintiffs for tools of the trade, (id; 11 510-25).

The plaintiffs allege that the defendants instituted a
delivery fee policy that resulted in the defendants unlawfully
retaining tips, (id; 1 3), and unlawfully accepting kickbacks,
(id; 11 458-66). The plaintiffs assert that around September 1,
2017, Just Salad instituted a $1.99 delivery fee across all Just
Salad locations. (ld; 1 67.) Around March 20, 2018, Just Salad
increased the deiivery fee at some Just Salad locations to
$2.50. (ld; 1.68.) This fee was charged to customers who
ordered delivery from Just Salad on Seamless, GrubHub, and other
online ordering services and was retained by the defendants.
(Ld; 1 3.) The plaintiffs claim that this fee was “intended for
the deliverymen” and unlawfully retained by the defendants.

(ld;) The plaintiffs also allege that money from the tip pool
was used to cover the cost of orders when a customer failed to
pay. (§§; 1 5-)

The plaintiffs also assert a claim for failure to reimburse
for tools of the trade, arguing that the defendants failed to
pay for uniform maintenance. (ld; 1 512.} The plaintiffs
allege specifically that they were not given enough uniforms,
and that because they had an insufficient number of uniforms the

plaintiffs were required to wash their uniforms daily apart from

other personal garments. (Id. 1 2.)

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Plaintiffs Medel and Carranza previously attempted to opt
into an action before this Court with similar claims against
many of the same defendants, Camara v. Kenner, No. 16cv7078,
2013 wL 1596195, at *1 (S.D.N.Y. Mar. 29/ 2018). Their FLSA

claims were dismissed as time barred and the Court declined to

exercise supplemental jurisdiction over their NYLL claims. ld;
at *5-6.

III.

A.

The defendants argue that Medel’s.and Carranza's FLSA
claims should be dismissed pursuant to the doctrine of res
judicata because the Court dismissed their FLSA claims in
Camara. In their opposition papers, Medel and Carranza state
that they are not bringing any claims under the FLSA.
Therefore, the defendants’ motion to dismiss the FLSA claims by
Medel and Carranza is denied without prejudice as moot.

B.

The defendants argue that Medel and Carranza cannot pursue
their NYLL claims because the Court declined to exercise
jurisdiction over their claims in Camara, and accordingly that
decision precludes those plaintiffs from asserting their NYLL
claims in this case.

The defendants' argument is meritless. The doctrine of

collateral estoppel, or issue preclusion, provides that “when an

 

 

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action between two parties terminates in a valid judgment, a
later action between the parties may be affected, and possibly

barred.” Levy v. Kosher Overseers Ass’n of Am., lnc., 104 F.3d

 

38, 41 (2d Cir. 1997) (guotation marks omitted and alterations
accepted}. Courts are “generally accorded ‘broad discretion' in
determining whether or not collateral estoppel should apply in a
given case.” Bear, Stearns & Co., Bear, Stearns Sec. Corp. v.

1109580 Ontario, Inc., 409 F.3d 87, 91-92 (2d Cir. 2005)

 

(guoting Parklane Hosiery Co. v. Shore, 439 U.S. 322, 331

 

(1979)). ln order for a party to bar an opponent from
relitigating an issue on collateral estoppel grounds:

(1) the issues in both proceedings must be
identical, (2) the issue in the prior
proceeding must have been actually litigated
and actually decided, (3) there must have been
a full and fair opportunity for litigation in
the prior proceeding, and (4) the issue
previously litigated must have been necessary
to support a valid and final judgment on the
merits.

Faulkner v. Nat'l Geographic Enters. lnc., 409 F.3d 26, 37 (2d

 

Cir. 2005) (guoting Gelb v. Royal Globe Ins. Co., 798 F.2d 38,

 

44 (2d Cir. 1986)).

Medel and Carranza were plaintiffs in the Camara case and
asserted FLSA and NYLL claims. The NYLL claims brought by Medel
and Carranza are the same in this case as they were in Camara.
However, there was no final judgment in Camara on Medel’s and

Carranza's NYLL claims. Rather, the Court declined to exercise

 

 

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supplemental jurisdiction and dismissed their NYLL claims
without prejudice. The Court’s decision to decline to exercise
supplemental jurisdiction in Camara was not a final judgment
deciding Medel's and Carranza's NYLL claims, and that decision
does not bar them from bringing their claims in this action.

Therefore, the defendants' motion to dismiss Medel’s and
Carranza's NYLL claims based on the doctrine of collateral
estoppel is denied.

C.

The defendants also argue that collateral estoppel bars all
of the plaintiffs in this case from relitigating issues the
Court decided in Camara, namely whether: (1) the defendant
restaurants where the plaintiffs did not work can be held liable
as a joint enterprise, (2) defendant Kenner is the plaintiffs’
employer, (3) Just Salad’s uniform policy fits into the “Wash
and Wear” provision of the NYLL, and (4) a collective action can
be certified. The defendants argue that these issues were
already decided in Camara and should preclude the plaintiffs in
this case from relitigating those issues.

Collateral estoppel may be used to prevent a plaintiff or
defendant from relitigating an issue that party previously lost.
Parklane, 439 U.S. at 326. There are two forms of collateral
estoppel, mutual and non-mutual. 1§; at 329-31. Mutual

collateral estoppel stops litigants “from relitigating an

 

 

 

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identical issue with the same party or his privy.” ld; at 326.
Non~mutual collateral estoppel3 prevents the losing party from
relitigating an issue against a different party. ld; at 329-30.
Eleven of the thirteen plaintiffs in this case were not
plaintiffs in Camara. Therefore, neither form of collateral

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estoppel applies because those plaintiffs have not yet had a
full and fair opportunity to litigate” any of the claims at
issue in this case and were not losing parties in a prior
litigation. ld;A And, as to Medel and Carranza, the defendants
targue only that those plaintiffs are.barred from litigating
their NYLL claims in this case because the Court declined to

exercise supplemental jurisdiction over those claims in Camara.4

As previously explained, that argument is meritless.

 

3 Non-mutual collateral estoppel may be used defensively or offensively:
“non-mutual defensive collateral estoppel ‘precludes a plaintiff from
relitigating identical issues by merely switching adversaries,'” Lipin v.
Hunt, No. l4cv1081, 2015 WL 1344406, at *5 (S.D.N.Y. Mar. 20, 2015) (guoting
Parklane, 439 U.S. at 326); and non-mutual offensive collateral estoppel
“preclude[s] a defendant from relitigating an issue the defendant has
previously litigated and lost to another plaintiff,” Faulkner, 409 F.3d at 37
(citing Parklane, 439 U.S. at 326).

 

4 It is unclear whether some of Medel's and Carranza's claims are barred
by collateral estoppel. Both Medel and Carranza were parties in Camara, and
the Court decided several issues in that case that are also at issue in this
case; for example, whether defendant Kenner is the plaintiffs’ employer.
Camara, 2018 WL 1596195, at *7. However, the defendants do not argue that
Medel's and Carranza’s substantive claims should be barred by collateral
estoppel; rather, the defendants argue only that Medel and Carranza cannot
assert their NYLL claims in this case because the Court previously declined
to exercise supplemental jurisdiction over their NYLL claims. Therefore,
determination of whether some or all of Medel’s and Carranza's NYLL claims
are barred by collateral estoppel remains a question for another day.

 

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Therefore, collateral estoppel is inapplicable and the
defendants' motion to dismiss the plaintiffs’ claims based on
collateral estoppel is denied.

IV.

The defendants argue that the plaintiffs cannot assert
claims against twelve of the twenty-four Just Salad franchises
because the plaintiffs did not work at those locations.
However, the plaintiffs have sufficiently pleaded that the
defendants were operating as a single integrated enterprise and
therefore liable as joint employers of the plaintiffs.

The Second Circuit Court of Appeals has yet to apply the
single integrated enterprise rule to FLSA liability. However,
district courts in this Circuit have applied the single
integrated enterprise doctrine in the FLSA context. See, e.g.,

Flores v. 201 W. 103 Corp., 256 F. Supp. 3d 433, 440~41

 

(S.D.N.Y. 2017); Li v. 1chiro Sushi, Inc., No. 14cv10242, 2016

 

WL 1271068, at *6 (S.D.N.Y. Mar. 29, 2016); Cordova v. SCCF,

lnc., No. l3cv5665, 2014 WL 3512838, at *3 (S.D.N.Y. July 16,

 

2014); Lopez v. Pio Pio NYC, Inc., No. 13cv4490, 2014 WL

 

1979930, at *3-4 (S.D.N.Y. May 14, 2014). The single integrated
enterprise theory holds multiple legally distinct entities
liable as a single employer when the entities are a single
integrated enterprise, as in the case of “parent and wholly-

owned subsidiary corporations, or separate corporations under

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common ownership and management.” Arculeo v. On-Site Sales &

 

Mktg., LLC, 425 F.3d 193, 198 (2d Cir. 2005).5 Whether a group
of entities qualifies as a single integrated enterprise turns on
four-factors: “(1) interrelation of operations, (2) centralized
control of labor relations, (3) common management, and (4)

common ownership or financial control.” Brown v. Daikin Am.

 

lnp;, 756 F.3d 219, 226 (2d Cir. 2014) (guotation marks
omitted). Although no one factor is dispositive, “control of
labor relations is the central concern.” ld; (guotation marks
omitted).6

The plaintiffs allege that: Just Salad LLC is the parent
corporation of the twenty-four franchise defendants, there is a
common corporate and ownership structure, the defendants share
employees based on necessity, the plaintiffs would deliver

supplies to different Just Salad locations, Just Salad delivery

 

5 The single integrated enterprise theory originally grew out of Title
VII doctrine. See Arculeo, 425 F.3d at 198.

5 Other district courts in this Circuit have declined to apply the formal
single integrated enterprise doctrine in the FLSA context and have instead
used the traditional economic realities test to determine whether multiple
legal entities constitute a single employer for FLSA purposes. See, e.g.,
Olvera v. Bareburger Grp. LLC, 73 F. Supp. 3d 201,r 205-06 {S.D.N.Y. 2014);
Hart v. Rick's Cabaret Int’l, lnc., 967 F. Supp. 2d 901, 939-40 & n.l6
{S.D.N.Y. 2013); Gorey v. Manheim Servs. Corp., 788 F. Supp. 2d 200, 210
{S.D.N.Y. 2011). Under the economic realities theory, courts look “to the
totality of the facts and circumstances of the case to determine whether an
entity is a[] ‘joint employer' of the plaintiff-employees within the meaning
of the FLSA.” Gorey, 788 F. Supp. 2d at 210. The relevant factors under
that test include whether the entity (1} was able to hire and fire the
employees,r (2) controlled work schedules or employment conditions, (3)
determined the rate or method of payment, and (4) maintained employment
records. ld;

 

 

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drivers all had to adhere to common policies such as the
delivery fee and uniform policies, and the defendants could hire
and fire the plaintiffs. That is enough to allege that the
defendants were operating as a single integrated enterprise.

§ee Flores, 256 F. Supp. 3d at 442 (denying a motion to dismiss
where the plaintiffs alleged “that the Restaurants had similar
names, a common theme, and similar menus,” that the plaintiffs
“personally transferred items between the Restaurants,

that the Restaurants were commonly owned and operated,” and that
“[t]wo of the Restaurants shared a website”); Juarez v. 449
Rest., Inc., 29 F. Supp. 3d 363, 367-68 (S.D.N.Y. 2014) (holding
that the plaintiff sufficiently pleaded that the defendants
operated as a single integrated enterprise where the plaintiff
alleged that an individual defendant owned, managed, and oversaw
operations at all of the defendant restaurants, the restaurants
had the same decor and menus, workers at all restaurants wore
the same uniform, and the plaintiff had worked at least a few
hours at each restaurant). Whether the evidence will
substantiate the plaintiff’s allegation cannot be decided on

this motion. The motion to dismiss the franchises where the

plaintiffs did not work is denied.

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V.

The defendants also assert that the plaintiffs have failed
to allege that defendant Kenner is the plaintiffs’ “employer”
under the FLSA and NYLL. The defendants are incorrect.

The plaintiffs have plainly alleged that Kenner was their
employer. To determine if a defendant qualifies as an
“employer” under the FLSA and NYLL, courts apply the economic
realities test, which looks at “whether the alleged employer (1)
had the power to hire and fire the employees, (2) supervised and
controlled employee work schedules or conditions of employment,
(3) determined the rate and method of payment, and (4)

maintained employment records.” Irizarry v. Catsimatidis, 722

 

F.3d 99, 105 (2d Cir. 2013).7 The plaintiffs in this case
specifically allege that Kenner had the power to hire and fire
employees, supervise and control employee work schedules, and
determine employees’ rate of pay. (Compl. 11 52“54.) The
plaintiffs also allege generally that all of the defendants
failed to keep full and accurate records.

Therefore, the plaintiffs have alleged that Kenner was an

“employer” for the purposes of the FLSA and NYLL. Moreover, as

 

7 The New York Court of Appeals has not yet answered the question of
whether the test for “employer” status is the same under the FLSA and the
NYLL, see Irizarry, 722 F.3d at 117, but courts in the Second Circuit have
generally assumed that it is, see Camara, 2018 WL 1596195, at *7; Sethi v.
Narod, 974 F. Supp. 2d 162, 188-89 {E.D.N.Y. 2013).

 

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explained above, the plaintiffs have alleged an enterprise

theory of liability. Whether the evidence will support the

plaintiffs’ allegations cannot be decided on this motion. The

defendants’ motion to dismiss Kenner from this case is denied.
VI.

The defendants argue that the plaintiffs cannot assert
claims for failure to pay them delivery fees because the
delivery fee policy was not instituted until after some of the
plaintiffs had already terminated their employment with Just
Salad. The plaintiffs respond that they are not asserting a
separate cause of action for tip retention by institution of a
delivery fee. Rather, the plaintiffs claim that the defendants'
retention of the delivery fee is just one of the ways the
defendants unlawfully retained tips.

Because the plaintiffs are not asserting a stand-alone
claim for unlawful tip retention based on the delivery-fee
policy, the defendants’ motion to dismiss that claim is denied
as moot.

VII.

The defendants argue that the plaintiffs have failed to
plead a collective action because they do “not provide
allegations outlining what group of individuals is to be

considered in this collective, what the collective period is, or

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what each member of the collective has in common with the named
plaintiffs.” (Defs.’ Mem. at 18.)

Under the FLSA, “[a]n action . . . may be maintained
against any employer . . . by any one or more employees for and
in behalf of himself or themselves and other employees similarly
situated.” 29 U.S.C. § 216(b).8 At the pleading stage, “a
complaint must allege facts sufficient to create the plausible
inference that there is a group of individuals similarly

situated to [the p]laintiff.” Peck v. Hillside Childrens Ctr.,

 

915 F. Supp. 2d 435, 438 (W.D.N.Y. 2013). The plaintiffs “can
carry that burden, at the notice stage, by presenting
substantial allegations that the putative class members were
together the victims of a single decision, policy or plan.” ld;
(quotation marks omitted). Generally, resolution of whether
there are other employees who are similarly situated to the
plaintiffs is better left for the conditional certification

stage of litigation. See, e.g., id. at 439.

 

3 A two-step approach is used to determine if the named plaintiffs and
the potential opt-in plaintiffs are “similarly situated.” Myers v. Hertz
Corp., 624 F.3d 537, 554-55 (2d Cir. 2010). At step one, the plaintiffs need
make “only a modest factual showing that they and other employees were
victims of a common policy or plan.” Salomon v. Adderley Indus., Inc., 847
F. Supp. 2d 561, 564 (S.D.N.Y. 2012). Courts “regularly rely on plaintiffs'
affidavits and hearsay statements [at step one] in determining the propriety
of sending notice.” ld; at 563. ln the second stage of analysis, “a court
determines whether the collective action “may go forward by determining
whether the plaintiffs who have opted in are in fact similarly situated to
the named plaintiffs.” ld; (quotation marks omitted) (quoting Myers, 624
F.Bd at 555). If the plaintiffs are not similarly situated, then the
collective action may be “de-certified” and “the opt-in plaintiffs' claims
may be dismissed without prejudice.” Myers, 624 F.3d at 555.

 

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In this case, the plaintiffs have alleged that there are
“similarly situated” employees. The plaintiffs allege that:
the defendants instituted a delivery fee policy that allowed the
defendants to retain tips unlawfully that were meant for
delivery drivers, the defendants had a uniform maintenance
policy that did not comply with the NYLL, the defendants failed
to pay overtime and minimum wages, and the defendants subjected
them to other unlawful employment practices. lt is at the very
least plausible that, as the plaintiffs claim, there are other
“similarly situated? delivery drivers who suffered from these
alleged practices. Whether the plaintiffs will be able to make
a sufficient showing to support certification at the first stage
of the certification process so that notice should be sent to
potential members of the class, see Myer§, 624 F.3d at 554"55,
cannot be decided on this motion to dismiss.

Therefore, the defendants' motion to dismiss the
plaintiffs’ collective action is denied without prejudice.

CONCLUS ION

The defendants' motion to dismiss the plaintiffs'-complaint

is denied. The Court has considered all of the arguments raised

by the parties. To the extent not specifically addressed, the

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arguments are either moot or without merit. The Clerk of Court
is directed to close docket numbers 25 and 29.
SO ORDERED.

Dated: New York, New York

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ij%“John G. Koeltl
United States District Judge

 

 

 

 

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